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                                UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


POPTECH, L.P., et al,                           :       CIVIL ACTION
     Plaintiffs                                 :       3:10-cv-00967 (MRK)
                                                :
     v.                                         :
STEWARDSHIP INVESTMENT                          :
ADVISORS, LLC, et al,                           :
     Defendants                                 :       February 14, 2011




 MOTION BY DEFENDANT STEWARDSHIP CREDIT ARBITRAGE FUND, LLC,
TO DISMISS COUNTS I AND III OF THE AMENDED CLASS ACTION COMPLAINT

        Pursuant to Rules 9(b), 12(b)(1) and 12(b)(6), Fed. R. Civ. P., and the Private Securities

Litigation Reform Act of 1995, 15 U.S.C. § 78u-4 (“PSLRA”), defendant Stewardship Credit

Arbitrage Fund, LLC (the “Fund”), moves to dismiss Counts I and III of the Amended Class

Action Complaint, filed December 13, 2010 (dkt. # 44) (“Complaint”), for lack of subject matter

jurisdiction and failure to state a claim on which relief can be granted, in that (a) the plaintiffs

lack standing, since the claims that they purport to assert directly are in fact derivative claims on

behalf of the Fund; (b) the Complaint fails to plead loss causation, reliance, fraud or scienter with
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sufficient specificity to meet the enhanced pleading standards of Rule 9(b) and the PSLRA; and

(c) there is no basis for the exercise of supplemental jurisdiction over Count III.

                                                      THE DEFENDANT,
                                                      STEWARDSHIP CREDIT
                                                      ARBITRAGE FUND, LLC

                                                      By: /s/ Frank J. Silvestri, Jr.
                                                      Frank J. Silvestri, Jr.
                                                      Federal Bar No. ct05367
                                                      LEVETT ROCKWOOD P.C.
                                                      33 Riverside Avenue
                                                      P.O. Box 5116
                                                      Westport, Connecticut 06881
                                                      Telephone: (203) 222-0885
                                                      Facsimile: (203) 226-8025
                                                      Email: fsilvestri@levettrockwood.com




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                                        CERTIFICATION

         I hereby certify that on February 14, 2011, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                       /s/ Frank J. Silvestri, Jr.
                                                       Frank J. Silvestri, Jr.
                                                       Federal Bar No. ct05367




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